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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 TEXAS CIVIL RIGHTS PROJECT, as Next
 Friend of UNNAMED CHILDEN #1-100,

                   Plaintiffs,

           v.
                                                  Civil Docket No. 1:20-cv-2035 (BAH)
 CHAD WOLF, Acting Secretary of
 Department of Homeland Security, et al.,

                   Defendants.



                                 NOTICE TO THE COURT

       Texas Civil Rights Project (“TCRP”) filed this case on behalf of “unnamed migrant

minors” who had illegally entered the United States from Mexico and were held at a hotel in

McAllen, Texas, as of July 23, 2020. See Compl. ¶¶ 3, 18, ECF No. 1. TCRP sued on behalf of

these putative plaintiffs to seek an order preventing the Government from returning them to their

home countries pursuant to an order issued by the Director of the Centers for Disease Control and

Prevention (“CDC”). See id. Prayer for Relief a-c. The CDC Order, issued under the Director’s

authority in the Public Health Service Act, temporarily prohibits the movement of certain aliens

into the United States from Canada or Mexico to avert the serious danger of further spreading

COVID-19 into the United States. See id. ¶ 58. 1 The Order requires returning such aliens to the


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          See also Control of Communicable Diseases; Foreign Quarantine: Suspension of
Introduction of Persons Into United States From Designated Foreign Countries or Places for Public
Health Purposes, 85 Fed. Reg. 16559, 16563 (Mar. 24, 2020); Notice of Order Under Sections 362
and 365 of the Public Health Service Act Suspending Introduction of Certain Persons From
Countries Where a Communicable Disease Exists, 85 Fed. Reg. 17060, 17061, 17067 (Mar. 26,
2020), as extended and/or amended by Extension of Order Suspending Introduction of Certain
Persons From Countries Where a Communicable Disease Exists, 85 Fed. Reg. 22424 (Apr. 20,
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country from which they entered the United States, to their country of origin, or to another location

as promptly as possible. Id. ¶ 60. TCRP requested an order that would require the Government

to afford the minors the immigration procedures that would otherwise apply without the CDC

Order. TCRP filed a motion for a temporary restraining order (“TRO”) on July 24, 2020. ECF

No. 2.

         The Government hereby represents that the unnamed single minors who were at the

identified hotel on July 23, 2020 and still in the United States when the TRO was filed are being

processed or will be processed under the immigration procedures set out in Title 8 of the U.S. Code

and not under the CDC Order. As the Court is aware, TCRP has withdrawn its motion for a TRO,

ECF No. 4.



Dated: July 27, 2020                                  Respectfully submitted,

                                                      ETHAN P. DAVIS
                                                      Acting Assistant Attorney General

                                                      DAVID MORRELL
                                                      Deputy Assistant Attorney General

                                                      /s/ Jean Lin
                                                      JEAN LIN (NY Bar 4074530)
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2020), and Amendment and Extension of Order Suspending Introduction of Certain Persons from
Countries Where a Communicable Disease Exists, 85 Fed. Reg. 31503-02 (May 21, 2020).
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